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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 21-20242-CR-ALTONAGA/TORRES

  UNITED STATES OF AMERICA

  v.

  MARK SCOTT GRENON and
  JOSEPH TIMOTHY GRENON,

              Defendants.
  __________________________________/

         MOTION TO DISMISS COUNTS 2 AND 3 OF INDICTMENT AGAINST
       DEFENDANTS MARK SCOTT GRENON AND JOSEPH TIMOTHY GRENON

         The United States of America, through undersigned counsel, hereby respectfully requests

  that pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the Court allow the United

  States to dismiss without prejudice Counts 2 and 3 of the Indictment against defendants Mark Scott

  Grenon and Joseph Timothy Grenon, and only these defendants, as required by the Extradition

  Decisions of the Republic of Colombia with respect to these defendants, and the obligations of the

  United States under the Extradition Treaty with the Republic of Colombia, U.S.-Colom., Sept. 14,

  1979, S. TREATY DOC. NO. 97-8 (1981) (the “Colombian Extradition Treaty”).

         On April 22, 2021, defendants Mark and Joseph Grenon, along with co-defendants

  Jonathan David Grenon and Jordan Paul Grenon, were indicted by a federal grand jury in the

  Southern District of Florida with one count of Conspiracy to Defraud and to Commit Offenses

  Against the United States, in violation of 18 U.S.C. § 371 (Count 1), and two counts of Criminal

  Contempt, in violation of 18 U.S.C. § 401(3) (Counts 2-3). Mark and Joseph Grenon were detained

  in Colombia at the request of the United States, and the United States thereafter submitted a formal

  extradition request.
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         Although Mark and Joseph Grenon are United States citizens with deep ties to the United

  States, where they committed the alleged crimes, they opposed the government’s request that they

  be extradited back to the United States to stand trial. The Republic of Colombia granted the

  extradition of these defendants for Count 1, but denied extradition for Counts 2 and 3. (D.E. 163,

  Exs. 1-2 (Extradition Decision with respect to Mark Grenon), 5-6 (Extradition Decision with

  respect to Joseph Grenon).) The Republic of Colombia denied extradition for these counts on dual

  criminality grounds, without addressing whether the defendants were guilty of criminal contempt.

         Therefore, the United States now moves the Court to allow the United States to dismiss

  Counts 2 and 3 against these defendants without prejudice, as the Colombian Extradition Treaty

  precludes the United States from prosecuting or punishing these defendants for charges for which

  extradition was denied. A proposed Order for Dismissal is attached hereto as Exhibit 1.

                                               Respectfully submitted,

                                               MARKENZY LAPOINTE
                                               UNITED STATES ATTORNEY

                                       BY:     /s/ Michael B. Homer
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 28, 2023, I caused a true and correct copy of the

  foregoing to be delivered via Certified Mail to pro se Defendants Jonathan David Grenon, Jordan

  Paul Grenon, and Joseph Timothy Grenon at the Miami Federal Detention Center, Inmate

  Mail/Parcels, Post Office Box 019120, Miami, Florida 33101.



                                                     /s/ Michael B. Homer
                                                     MICHAEL B. HOMER
                                                     Assistant United States Attorney




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